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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                             Case No. 8:04-cr-348-T-24 TGW

 KEVIN McMAHON

 _______________________________/

                                              ORDER
        This cause comes before the Court on Defendant Kevin McMahon’s Motion to Dismiss
 for Improper Venue. (Doc. No. 339). The Government opposes this motion. (Doc. No. 345).
        Defendant McMahon is named in Count One (RICO conspiracy) in a four-count
 indictment charging seven defendants with involvement in a RICO conspiracy and various
 Hobbs Act violations. In this motion, Defendant McMahon requests that the Court dismiss
 Count One of the Superceding Indictment as to Defendant McMahon for improper venue.
 Specifically, Defendant McMahon argues that his inclusion in the RICO count is due to his
 alleged role in two robberies that occurred in New York and New Jersey. Therefore, he argues
 that venue is improper in the Middle District of Florida and that his ability to present a proper
 defense is substantially impeded. The Court rejects his argument.
        Venue in this case is controlled by 18 U.S.C. § 3237(a), which provides: “Except as
 otherwise expressly provided by enactment of Congress, any offense against the United States
 begun in one district and completed in another, or committed in more than one district, may be
 inquired of and prosecuted in any district in which such offense was begun, continued, or
 completed.” The RICO conspiracy charged in Count One is alleged to have been a continuous
 offense involving criminal activity in more than one district, including the Middle District of
 Florida, and as such, venue is proper in the Middle District of Florida.
        Accordingly, it is ORDERED AND ADJUDGED that Defendant Kevin McMahon’s
 Motion to Dismiss for Improper Venue (Doc. No. 339) is DENIED.
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        DONE AND ORDERED at Tampa, Florida, this 20th day of January, 2006.




 Copies to: Counsel of Record




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